Case 2:12-md-02323-AB Document 7232-2 Filed 03/01/17 Page 1 of 6




                     EXHIBIT B
Case 2:12-md-02323-AB Document 7232-2 Filed 03/01/17 Page 2 of 6
Case 2:12-md-02323-AB Document 7232-2 Filed 03/01/17 Page 3 of 6
Case 2:12-md-02323-AB Document 7232-2 Filed 03/01/17 Page 4 of 6
Case 2:12-md-02323-AB Document 7232-2 Filed 03/01/17 Page 5 of 6
Case 2:12-md-02323-AB Document 7232-2 Filed 03/01/17 Page 6 of 6
